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                 Exhibit A
       Declaration of Jason Walsh
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                              UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS



 JASON GRANT, ALLISON TAGGART, LISA                   Civil Action No. 1:25-cv-10770-MJJ
 PETERSON, and SAMANTHA LYONS,
                          Plaintiffs,
        v.
 TRIAL COURT OF THE COMMONWEALTH
 OF MASSACHUSETTS, BEVERLY J.
 CANNONE, in her official capacity as Justice of
 the Superior Court, GEOFFREY NOBLE, as
 Superintendent of the Massachusetts State Police;
 MICHAEL d’ENTREMONT, in his official
 capacity as Chief of the Police Department of the
 Town of Dedham, Massachusetts, and
 MICHAEL W. MORRISSEY, in his official
 capacity as the Norfolk County District Attorney,
                          Defendants.

                               DECLARATION OF JASON GRANT

       I, Jason Grant, hereby declare:

       1.      I am over 18 years of age and have never been convicted of a crime involving fraud

or dishonesty. I have knowledge of the facts set forth herein, and if called as a witness, could and

would testify thereto.

       2.      I am a Plaintiff in the above-captioned matter.

       3.      I make this Declaration in support of Plaintiffs’ Supplemental Brief in Support of

Preliminary Injunction.

       4.      On May 16, 2025, I sought to stand across the street from the Norfolk Superior

Courthouse holding an American flag and a Bible verse: 2 Corinthians 3:17 (“Now the Lord is

the Spirit, and Where the Spirit of the Lord is, There is Freedom”). I was threatened by the

Massachusetts State Police and was barred from protesting with my sign.
                                                 -1-
                                      Declaration of Jason Grant
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       5.     Below is a true and correct photograph of me holding the sign on May 16, 2025.




       6.     Exhibit B, is a true and correct video of the arrest of Erica Walsh. I am the person

who filmed that video.

       7.     Below is a true and correct still image from the video I took of Erica Walsh being

arrested on May 19, 2025.




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       8.      After the Supplemental Order Regarding the Buffer Zone issued, the Massachusetts

State Police told me “nothing has changed” in regards to the buffer zone.

       I declare under penalty of perjury that everything I have stated in this document is true and

correct.



        05 / 20 / 2025
Dated: ______________________                        By: ________________________________
                                                         Jason Grant




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                                   Declaration of Jason Grant
                              Civil Action No. 1:25-cv-10770-MJJ
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